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Plaintiff
VS.
CR. NO. 03-20451-B
NICHOLAS |V|ORROW (C)

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on N|arch 28, 2005. At that time, counsel for the
defendant requested a continuance of the trial date in order to allow for additional preparation
in the case.

The Court granted the request and reset the trial date to May 2, 2005 with a report date
of |Vlonday, Aprii 25, 2005. A N|otion to Suppress Evidence was filed and a suppression
hearing set for l\/|ay 5, 2005. Pursuant to Defendant’s request, new counsel Was appointed to
represent the defendant and a new date of lVlay 31, 2005 was set for suppression hearing.

A lV|otion to Continue is Granted and Supgressing Hearing is continued to Thursday,

June 23, 2005 at 10:00 a.m., in Courtroom1 11th F|oor of the Federa| Bui|ding, i\/lernphis, TN.

 

The period from May ‘|3, 2005 through Ju|y15l 2005 is excludable under 18 U.S.C.
§ 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time to prepare

outweigh the need for a speedy trial.

iTls so oRoEREDthiS Jl dayofl\/i ,2005_

 

J A iEL BREEN \
NlT o sTATEs oisTRicT JquE

Thts doctment entered on the docket sheet tn compliance
with Hn|e 55 and!or 321bi FHGrF on " *'

   

UNITED sTATE onlle COURT - WESRNTE D's'TRCT 0 TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:03-CR-20451 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

Greg Gilluly

US ATTORNEY'S OFFICE
167 N. Main St.

Ste 800

i\/lemphis7 TN 38103

Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

Memphis7 TN 38103--238

Honorable J. Breen
US DISTRICT COURT

